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Case 1:02-cv-00012-jgm Document 1 Filed 01/16/02 Page 1 of 4

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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF VERMONT

 

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SUSAN ABDO, )
Plaintiff, )
) CIVIL COURT ACTION
Vv. ) . .
) DOCKETNO. /7O7-C¥-/2
)
UNIVERSITY OF VERMONT, )
Defendant. )

COMPLAINT

NOW COMES the plaintiff, Susan Abdo, by and through her attorneys, Blackwood
Associates, P.C. and Vermont Legal Aid, Inc., and hereby complains against the defendant
University of Vermont (hereafter UVM) as follows:

1. Ms. Abdo is a resident of the City of Montpelier, County of Washington, State of
Vermont.

2. UVM is an institution of higher education, a place of public accommodation, a
recipient of federal financial assistance, and a public corporation of the State of Vermont with its
principal place of business in the City of Burlington, County of Chittenden, State of Vermont.

3. . This action arises under §504 of the Rehabilitation Act of 1973, 29 U.S.C. §794; the
Americans with Disabilities Act, 42 U.S.C. §12101 et seq.; the Vermont Public
Accommodations Act, 9 V.S.A. §4501; and the common law of the State of Vermont. This court
has jurisdiction under 12 U.S.C. 1331.

Factual Basis

4, In January 1999, Ms. Abdo registered for two graduate level courses at UVM.

 
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Case 1:02-cv-00012-jgm Document1 Filed 01/16/02 Page 2 of 4

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5. Before doing so, Ms. Abdo had met with two of the professors to ensure that she
would be able to perform well in the classes because she was suffering from several disabilities
as the result of prior automobile accidents.

6. Among her disabilities and symptoms at the time, Ms. Abdo experienced chronic pain
and deconditioning, particularly in her back and neck. She was undergoing periodic surgeries
related to jaw, tooth, and gum injuries. She suffered severe fatigue and limited ability to
concentrate.

7. Atthe time, UVM policy required students with physical disabilities to provide
documentation of their disabilities to the Office of Specialized Student Services (OSSS), which
Ms. Abdo did. OSSS was then to recommend reasonable accommodations appropriate to the
student’s disability and the academic program requirements and convey these to the student’s
professors.

8. OSSS did not provide Ms. Abdo with the required accommodations and instead
required her to initiate contacts with multiple other offices of UVM to try to meet her needs.

9. Ms. Abdo became quite exhausted and had difficulty completing her work because of
the failure to provide accommodations.

10. OSSS also failed to provide Ms. Abdo’s professors with information about her
disabilities and needed accommodations.

11. Ms. Abdo was penalized by the professors in one of her classes for being unable to
attend class and to fulfill all her classwork as requested because of her disabilities and the lack of

accommodations.

 
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Case 1:02-cv-00012-jgm Document 1 Filed 01/16/02 Page 3 of 4

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Damages

12. As a result of UVM's actions, Ms. Abdo has suffered damages, including but not
limited to penalties to her grades, loss of tuition, delay of career and earning potential, damage to
self-esteem, loss of enjoyment of life, emotional distress, costs and expenses, and attorney’s fees.

Legal Bases

13. UVM's refusal and failure to reasonably accommodate Ms. Abdo's disabilities and its
discriminatory treatment of her violate the Vermont Public Accommodations Act (VPAA), the
Rehabilitation Act of 1973, and the Americans with Disabilities Act.

14. By its failure to follow its own promises and contractual agreements, UVM's actions
violate Vermont common law, including the doctrines of breach of contract and promissory
estoppel.

15. By its actions described above, UVM was negligent and caused Ms. Abdo harm.

16. By its actions described above, UVM acted recklessly and with malice towards Ms.

Abdo.

WHEREFORE, Ms. Abdo requests the Court to award her compensatory and punitive
damages, along with refunds of tuition, back pay, other economic damages, attorney’s fees,

costs, expenses, and such other relief as the Court deems appropriate.

PLAINTIFF REQUESTS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

 
Case 1:02-cv-00012-jgm Document 1 Filed 01/16/02 Page 4 of 4

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Dated at Burlington, Vermont, this § day of January, 2002.

SUSAN ABDO

BY: BLACKWOOD ASSOCIATES, P.C.

By: Ce Wo Black and
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DISABILITIES LAW PROJECT OF
VERMONT LEGAL AID, INC.

By:

 

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